
PARMER, Judge.
We affirm the Level 2 commitment of appellant under § 39.052(3)(e)3, Florida Statutes. The trial court stated for the record its reasons for disregarding the recommendations of the Department of Juvenile Justice and those reasons were supported by a preponderance of the evidence.
There is a correction needed, however, in the Disposition Order. The order is ambiguous regarding the maximum allowable sentence for misdemeanor battery committed by a juvenile and is therefore inconsistent with our recent ruling in M.S. v. State, 675 So.2d 215 (Fla. 4th DCA 1996). In M.S. we held that for the sake of clarity, the term of the sentence should be specifically stated to avoid confusion. We remand the order to specifically state that the maximum sentence for appellant’s misdemeanor battery charge is limited to one year. R.B. v. State, 633 So.2d 542 (Fla. 5th DCA 1994); § 39.054(4), Florida Statutes (1993).
STEVENSON, J., and OWEN, WILLIAM C., Jr., Senior Judge, concur.
